Case 2:17-bk-07858-MCW Doc 22-2 Filed 08/16/17 Entered 08/16/17 18:12:37   Desc
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Case 2:17-bk-07858-MCW Doc 22-2 Filed 08/16/17 Entered 08/16/17 18:12:37   Desc
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